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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION




 RAMON ELIESER YAGUAL GUARANDA,


 v.                                     Case No. 8:04-cr-238-T-17TBM
                                                 8:06-cv-1255-T-17TBM

 UNITED STATES OF AMERICA.



                                         ORDER

        This cause is before the Court on Defendant Guaranda's 28 U.S.C. § 2255 motion

 to vacate, set aside, or correct an allegedly illegal sentence. (Doc. No. cv-1; cr-332).

                                      BACKGROUND

        In May 2004, a grand jury in the Middle District of Florida returned an indictment

 charging Ramon Elieser Yagual Guaranda and others with possessing with intent to

 distribute at least five kilograms of cocaine while on board a vessel (the "Don Enrique")

 subject to United States jurisdiction, in violation of 46 U.S.C. App. § 1903(g) and 21 U.S.C.

 § 960(b)(1)(B)(ii), and conspiracy to do the same, in violation of 46 U.S.C. App. § 1903(j)

 and 21 U.S.C. § 960(b)(1)(B)(ii). (Doc. No. cr-1). The total amount of cocaine found in a

 compartment on the "Don Enrique" was 9,450 pounds (4.6 tons or 4,295 kilograms).
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 According to the DEA lab report, the total amount of cocaine seized was 3,734 kilograms.

        Guaranda pled guilty as charged without a plea agreement. (Doc. Nos. cr-136, 146,

 265). This Court sentenced Guaranda, within the advisory guidelines range for his crime,

 to 135 months imprisonment, to be followed by 48 months supervised release. (Doc. No.

 cr-213, 222). Guaranda did not directly appeal his sentence.

        On July 7, 2006, Guaranda filed the section 2255 motion to vacate that is the subject

 of this case. (Doc. No. cv-1) In this motion, Guaranda asserts that his trial counsel was

 ineffective for failing to challenge the sufficiency of the indictment, failing to directly appeal

 his sentence, and failing to allege a speedy trial violation. The motion to vacate is timely.

                                   STANDARD OF REVIEW

        The Sixth Amendment right to counsel is the right to effective assistance of counsel.

 McMann v. Richardson, 397 U.S. 759, 771 n.14 (1970). The benchmark for judging any

 claim of ineffective assistance of counsel, however, is whether counsel’s conduct so

 undermined the proper functioning of the adversarial process that the trial cannot be relied

 on as having produced a just result. Strickland v. Washington, 466 U.S. 668, 688 (1984);

 see also Boykins v. Wainwright, 737 F.2d 1539, 1542 (11th Cir. 1984). The burden is on

 the defendant to demonstrate that (1) counsel’s performance fell below an objective

 standard of reasonable professional assistance and (2) the defendant was prejudiced by

 the deficient performance. United States v. Cronic, 466 U.S. 648, 658 (1984).

        The reasonableness of counsel’s challenged conduct must be judged on the facts

 of the particular case, viewed as of the time of counsel’s conduct. Devier v. Zant, 3 F.3d

 1445, 1450 (11th Cir. 1993). For performance to be deficient, it must be established that,

 in light of all the circumstances, counsel’s performance was outside the wide range of

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 professional competence. See Strickland, 466 U.S. at 690. Judicial scrutiny of counsel’s

 performance must be highly deferential, and courts “must avoid second- guessing counsel’s

 performance.” Chandler v. United States, 218 F.3d 1305, 1314 (11th Cir. 2000) (en banc).

 “Courts must ‘indulge [the] strong presumption’ that counsel’s performance was reasonable

 and that counsel ‘made all significant decisions in the exercise of reasonable professional

 judgment.’ ” Id. (quoting Strickland, 466 U.S. at 689). The defendant’s burden in this regard,

 though not insurmountable, is a heavy one. See Chandler, 218 F.3d at 1314. For a

 petitioner to show deficient performance, he “must establish that no competent counsel

 would have taken the action that his counsel did take.” Id. at 1315.

        To establish prejudice, a petitioner must demonstrate a reasonable probability that,

 but for counsel’s deficient performance, the result of his trial would have been different.

 United States v. Greer, 440 F.3d 1267, 1272 (11th Cir. 2006). A reasonable probability is

 a probability sufficient to undermine confidence in the outcome. Rolling v. Crosby, 438 F.3d

 1296, 1300 (11th Cir. 2006). If the defendant fails to show that he was prejudiced by the

 alleged errors of counsel, this Court may reject the defendant’s claim without determining

 whether the counsel’s performance was deficient. Strickland, 466 U.S. at 697; Tafero v.

 Wainwright, 796 F.2d 1314, 1319 (11th Cir. 1986).

        Because a lawyer is presumed to be competent to assist a defendant, the burden

 is on the accused to demonstrate the denial of the effective assistance of counsel. United

 States v. Cronic, 466 U.S. at 658. Ineffectiveness of counsel may be grounds for vacating

 a conviction if (1) counsel’s performance fell below an objective standard of reasonable

 professional assistance and (2) the defendant was prejudiced by the deficient performance.

 Strickland, 466 U.S. at 687, 694. “[T]here is no reason for a court deciding an ineffective

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 assistance claim . . . to address both components of the inquiry if the defendant makes an

 insufficient showing on one.” Strickland, 466 U.S. at 697. Thus, if the defendant fails to

 show that he is prejudiced by the alleged errors of counsel, this Court may reject the

 defendant’s claim without determining whether the counsel’s performance was deficient.

 See Coulter v. Herring, 60 F.3d 1499, 1504 n.8 (11th Cir. 1995). For performance to be

 deficient, it must be established that, in light of all the circumstances, counsel’s

 performance was outside the wide range of professional competence. See Strickland, 466

 U.S. at 690. In other words, when reviewing counsel’s decisions, “the issue is not what is

 possible or ‘what is prudent or appropriate, but only what is constitutionally compelled.’”

 Chandler v. United States, 218 F.3d 1305, 1313 (11th Cir. 2000) (en banc) (quoting Burger

 v. Kemp, 483 U.S. 776 (1987)).

        Furthermore, “[t]he burden of persuasion is on a petitioner to prove, by a

 preponderance of competent evidence, that counsel’s performance was unreasonable.”

 Chandler, 218 F.3d at 1313. This burden of persuasion, though not insurmountable, is a

 heavy one. See id. at 1314. “‘Judicial scrutiny of counsel’s performance must be highly

 deferential,’” and courts “must avoid second-guessing counsel’s performance.” Id. (quoting

 Strickland, 466 U.S. at 689). “Courts must ‘indulge [the] strong presumption’ that counsel’s

 performance was reasonable and that counsel ‘made all significant decisions in the

 exercise of reasonable professional judgment.’” Id. (quoting Strickland, 466 U.S. at 689-90).

 Therefore, “counsel cannot be adjudged incompetent for performing in a particular way in

 a case, as long as the approach taken ‘might be considered sound trial strategy.’” Id.

 (quoting Darden v. Wainwright, 477 U.S. 168 (1986)). If the record is incomplete or unclear

 about counsel’s actions, then it is presumed that counsel exercised reasonable professional

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 judgment. See id. at 1314-15 n.15. Thus, the presumption afforded counsel’s performance

 “is not . . . that the particular defense lawyer in reality focused on and, then, deliberately

 decided to do or not to do a specific act.” Id. Rather, the presumption is “that what the

 particular defense lawyer did at trial . . . were acts that some reasonable lawyer might do.”

 Id. Moreover, “[t]he reasonableness of a counsel’s performance is an objective inquiry.” Id.

 at 1315. For a Petitioner to show deficient performance, he “must establish that no

 competent counsel would have taken the action that his counsel did take.” Id. To uphold

 a lawyer’s strategy, a court “need not attempt to divine the lawyer’s mental processes

 underlying the strategy.” Id. at 1315 n.16. Finally, “[n]o absolute rules dictate what is

 reasonable performance for lawyers.” Id. at 1317.

                                        DISCUSSION

                                  Grounds One and Three

        In ground one, Guaranda contends that this Court should have “vacated” one of his

 two counts of conviction based on the fact that both counts allege the “same exact crime.”

 (Doc. No. cv-2 at p. 6). Guaranda claims that the Fifth Amendment’s protections “against

 multiple punishment for the same offense” and “double jeopardy” are implicated by

 sentencing him to both counts. (Doc. No. cv-2 at pp. 6-7). Guaranda claims that counsel

 should have “objected” to the use of both counts of conviction for sentencing. (Doc. No. cv-

 2 at p. 7).

        In ground three, Guaranda claims that he was denied his Sixth Amendment right to

 effective assistance of counsel. Guaranda asserts, without any elaboration, that his counsel

 was ineffective in failing to raise a speedy trial violation. Guaranda fails to develop this

 argument other than as a vague and conclusory allegation. Although, this Court must

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 construe Guaranda’s pro se section 2255 motion more liberally than a pleading filed by an

 attorney, see Fernandez v. United States, 941 F.2d 1488, 1491 (11th Cir.1991), this

 principle cannot excuse Guaranda's failure to explain why he is entitled to any relief for

 asserted defects in the indictment or alleged speedy trial violations.

                   Guilty Plea Waives Claims in Grounds One and Three

        By entering a plea of guilty to the two counts in the indictment, Guaranda waived the

 contentions in grounds one and three of his 2255 motion to vacate. His claims in grounds

 one and three occurred prior to his entering his guilty plea. Guaranda’s claims of ineffective

 assistance of counsel are directly related to events that occurred prior to his entering his

 guilty plea.

        A guilty plea waives all non-jurisdictional defects occurring prior to the time of the

 plea. Tiemens v. United States, 724 F.2d 928, 929 (11th Cir. 1984) (citing Tollett v.

 Henderson, 411 U.S. 258 (1973)). See also Wilson v. United States, 962 F.2d 996, 997

 (11th Cir. 1992) (unconditional guilty plea waives right to appeal any non-jurisdictional

 defects in pre-plea proceedings). Guaranda cannot claim ineffective assistance of counsel

 for alleged violations that occurred prior to his guilty plea. Because Guaranda does not–and

 cannot--dispute that his guilty plea was voluntary and knowing, grounds one and three,

 which contend that his counsel was ineffective prior to the entry of the guilty plea, are

 waived, and this waiver precludes Guaranda from raising any potential due process claim

 arising prior to the entry of the plea.

                                     Merits of Ground One

        Guaranda's conclusory and unsubstantiated claim that counsel was ineffective at

 sentencing for failing to challenge the indictment is simply a challenge to the sentence

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 imposed. As stated previously, Guaranda waived all non-jurisdictional claims prior to his

 guilty plea, and is precluded from making this argument. See Tiemens, 724 F.2d at 929.

 Regardless, even if Guaranda’s claim had not been procedurally waived, he would still not

 be entitled to relief. There is no basis for Guaranda's claim that he suffered multiple

 punishments for the same offense. It is beyond dispute that a conspiracy does not merge

 with its object substantive crime. Iannelli v. United States, 420 U.S. 770, 777 (1975); United

 States v. York, 578 F.2d 1036,1039-40 (5th Cir. 1978) (collecting cases). Guaranda

 provides no reason for this Court to reconsider this doctrine (even if it were not precluded

 from doing so by its own and Supreme Court precedent), other than to state that it is his

 belief that it violates Congressional intent.

        To the extent that Guaranda’s claim can be construed as challenging the indictment

 as multiplicitous, this claim also fails. A conspiracy charge and a possession with intent to

 distribute charge are not the same offense. Distinct statutory offenses are not the same for

 double jeopardy or multiplicitousness purposes as long as "each provision requires proof

 of an additional fact which the other does not." Blockburger v. United States, 284 U.S. 299,

 304 (1932) (double jeopardy); United States v. Sirang, 70 F.3d 588, 595 (11th Cir.1995)

 (multiplicitousness). When a defendant fails to object to multiplicitous counts in an

 indictment prior to trial, he is barred from challenging his convictions and may challenge

 only his separate sentences. United States v. Grinkiewicz, 873 F.2d 253, 255 (11th

 Cir.1989); Fed. R. Crim. P. 12(b)(3)(B). More importantly, Guaranda received concurrent

 sentences on the counts he claims were multiplicitous. Therefore, even assuming that

 Guaranda's multiplicity claim was correct, any error would be harmless. See United States



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 v. Langford, 946 F.2d 798, 804-05 (11th Cir.1991) (finding that multiplicitous securities

 fraud counts were harmless error because sentences were concurrent).

           In the instant case, Guaranda’s assertion that counsel should have “objected”

 because his conviction is a “Double Jeopardy violation” fails to show prejudice. Therefore,

 Guaranda’s counsel was not ineffective under Strickland for failing to challenge the counts

 of conviction as multiple punishments. Strickland, 466 U.S. at 694. Guaranda has failed to

 show that counsel’s performance was below an objective standard of reasonable

 professional assistance. Id. Thus, Guaranda’s argument lacks merit and does not warrant

 relief.

                                    Merits of Ground Three

           Guaranda’s assertion that counsel was ineffective because he failed to allege a

 violation of the Speedy Trial Act is vague and conclusory. See Wilson, 962 F.2d at 998.

 Mere assertions or conclusory allegations of ineffective assistance of counsel without

 factual support or a demonstration of cause and prejudice do not satisfy the Strickland test.

 Moreover, vague, speculative, or unsubstantiated claims are insufficient to support a

 request for collateral relief. Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir. 1991).

           Grounds one and three do not warrant relief.

                                          Ground Two

           Guaranda asserts that he asked his attorney in the underlying criminal proceeding,

 Assistant Federal Public Defender Frank W. Zaremba (Zaremba), to file a notice of direct

 appeal and that Zaremba failed to do so. (Doc. cv-2 at p. 8). He claims that immediately

 after his sentencing, through his interpreter, Guaranda asked his attorney to file "his



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 appeal" and that counsel, again through the interpreter, told Guaranda that he would visit

 him "tomorrow to discuss your appeal." (Doc. cv-7 at p. 1). Guaranda also claims that

 Zaremba wrote him “a letter telling [Guaranda] that [Zaremba] agreed with [Guaranda]

 about not wanting to appeal [Guaranda’s] case. (Doc. cv-2 at p. 8). Guaranda claims that

 he was under the impression that his appeal was “ongoing” when he received Zaremba’s

 letter and the letter was written “two months later, after time had ran to file an [a]ppeal.”

 (Doc. cv-2 at p. 8)

         On May 17, 2007, the undersigned United States District Judge presided at an

 evidentiary hearing on ground two. The Court notes that, by alleging that AFPD Zaremba

 provided ineffective assistance of counsel, Guaranda put at issue–and thereby waived–any

 privilege that might apply to the contents of his conversations with AFPD Zaremba or to

 documents in the FPD’s case file that are relevant to the filing of an appeal. See Johnson

 v. Alabama, 256 F.3d 1156, 1178-79 (11th Cir. 2001) (citing Laughner v. United States, 373

 F.2d 326 (5th Cir. 1956)). Furthermore, Guaranda waived his privilege, on the record, at

 the evidentiary hearing.1

         1
            In an abundance of caution, the Court, on February 2, 2007, ordered Guaranda to file an affidavit
 stating that he waived his attorney client privilege related to ground two. The Court cautioned Guaranda that
 it would construe his failure to file the affidavit waiving his attorney client privilege as Guaranda's abandoning
 ground two. (Doc. No. cv-6).

         On February 20, 2007, Guaranda filed an affidavit entitled "Affidavit Response to the Government
 Order Doc-6, Filed 02-02-2007" in which he alleged that immediately after his sentencing he asked his
 attorney to file an appeal and counsel told him that he was would visit him "tomorrow to discuss your appeal."
 However, according to Guaranda, counsel never went to visit him to discuss his appeal.

         Guaranda alleged, in his affidavit, that after he was transferred to F.C.I. Fort Worth, Texas, he made
 several unsuccessful attempts to contact his counsel via telephone to investigate his appeal, but none of the
 calls were answered.

           He also stated several inmates told him that appeals could take a year or longer and the best way to
 find out if an appeal were pending would be to request a docket sheet from the district court. Guaranda stated
 that when he received the docket sheet, he discovered that his appeal had not been filed. (Doc. No. cv-7)

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         Attorney Edward J. Page (Page) was court-appointed to represent Guaranda at the

 evidentiary hearing. Assistant United Stated Attorney Cathy Peluso (Peluso) represented

 the Government.

                                 Testimony at the Evidentiary Hearing

         Page called, as his first witness, Pedro Marino, the interpreter at Guaranda's

 sentencing hearing. Marino testified that he did not remember this case or Guaranda and

 did not remember whether there was any discussion after the sentencing about an appeal.

 As his second witness, Page called Anna Fanfan who testified that she worked as an

 investigator for the Federal Public Defender's Office (FPD) and that she had often

 translated for Zaremba in Guaranda's case. She recognized Guaranda. She testified that

 she met with Guaranda ten or more times. She could not recall discussing an appeal with

 Guaranda. She also testified that Zaremba met with Guaranda when she was not present.


 Guaranda does not explain why he states, in his present motion to vacate that "On 8/26/05, Beverly Hunter
 filed a Notice of appeal on behalf of Petitioner. However, none were ever perfected." The docket shows that
 on 8/26/05, Court-reporter Beverly Hunter filed a transcript of the Change of Plea Proceedings held before
 Magistrate Judge Thomas B. McCoun III on February 8, 2005. (Doc. Nos. cr-265, 266). This filing is not a
 Notice of Appeal.

          The Court construed this affidavit as Guaranda's waiver of the attorney-client privilege. (Doc. No. cv-
 8). The Court stated, "Guaranda filed an affidavit, but nowhere in the affidavit did he state that he waived the
 attorney client privilege. However, because he did file the affidavit, and because case law supports the waiver
 of attorney-client privilege on Guaranda's claim, the Court will construe the affidavit as Guaranda's waiver of
 the attorney-client privilege." (Doc. No. cv-8). In other words, the Court preserved the claim in ground two
 for Guaranda even though Guaranda did not follow the Court's instructions.

           The Court ordered the Government to file an affidavit from Guaranda's defense attorney AFPD Frank
 Zaremba, and state whether the Government conceded that Guaranda was entitled to a belated appeal. On
 March 6, 2007, the Government filed AFPD Zaremba's affidavit. Attorney Zaremba stated that he and
 Guaranda had discussed the issue of whether an appeal should be filed. Attorney Zaremba stated that "as
 the defendant had received the safety valve adjustment, it was determined by the defendant, after discussion.
 . . .that he [Guaranda] would not seek an Appeal of this matter." Attorney Zaremba stated that these
 conversations were through the use of a Spanish Interpreter. Nonetheless, Zaremba had a clear recollection
 of these discussions and the fact that it was determined that the defendant [Guaranda] would not file an
 Appeal. (Doc. No. cv-9).



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 She testified that she discussed issues about Guaranda's family, his education, and his

 arrest. It was not her job to discuss legal topics. She remembered that it was necessary

 to go over the same concept several times with Guaranda.

        On cross-examination, Fanfan testified that Zaremba did not speak Spanish and

 would not have met with Guaranda without someone who could interpret for him. She

 stated that were many people who worked as interpreters/translators for the Federal Public

 Defender's Office.

        Next, Attorney Page called Zaremba. Zaremba is a criminal defense attorney who

 has worked in the private and public sectors. Zaremba testified that he had been an AFPD

 for six and a half years; that prior to that time he was in private practice handling both civil

 and criminal matters; and that he had served as a prosecutor in Miami, Florida, from 1981-

 1986. He also served an internship with the State Attorney's office in Ft. Lauderdale. He

 has represented approximately one thousand defendants as an AFPD.

        Zaremba acknowledged that he had to discuss concepts with Guaranda several

 times prior for Guaranda to understand the concept. He testified that he spent "quite a bit

 of time" acquainting Guaranda with the American legal system.

        Zaremba testified that he and Guaranda discussed whether Guaranda should enter

 a plea and decided that he would enter a straight up plea without a plea agreement.2 He

 testified that he met with Guaranda after Guaranda had debriefed at least two times and

 after the Government found that Guaranda met the criteria set forth in subdivisions (1)-(5)


        2
           There was a written plea agreement that was not signed. AFPD Maria Guzman was originally
 assigned to this case and may have been the original recipient of the plea agreement. She was terminated
 from the case on August 12, 2004, and Zaremba represented Guaranda through sentencing. Guaranda was
 aware of the proposed written plea agreement and Zaremba discussed that plea agreement with Guaranda.

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 of USSG § 5C1.2,3 the "safety valve" provision, decreasing his offense level by two levels.4

         Zaremba testified that he discussed entering a straight up plea with Guaranda

 because the written plea agreement contained an appeal waiver. Zaremba testified that he

 and Guaranda discussed the fact that it was advantageous to enter a straight up plea

 without an appeal waiver. Zaremba testified that by entering the straight up plea Guaranda

 preserved the right to appeal.

         Zaremba also testified that he sought a minor role adjustment via an addendum to

 Guaranda's Presentence Investigative Report (PSR). However, probation rejected that

 application of the adjustment. Nevertheless, Zaremba argued at sentencing that Guaranda

 was entitled to a minor role adjustment. Zaremba testified that he knew this could have

 been appealed, and that the issue was preserved for appeal.

         Zaremba testified that he met with Guaranda at the jail prior to sentencing and

 discussed the DeVaron case5              and minor role. Zaremba also testified that he and

 Guaranda discussed what would be argued at the sentencing and whether or not Guaranda

 would appeal. Zaremba testified that he was pleased that Guaranda "got the safety valve"

 and that he had seen it taken away at the time of sentencing in other cases.                           They

 discussed Guaranda's providing substantial assistance post-sentencing for the purpose of



         3
             Guaranda's sentence was decreased by two levels pursuant to USSG § 2D1.1(b)(6).

         4
            The written plea agreement stated:" The United States will not oppose the defendant's request to
 the Court that it impose a sentence in accordance with the applicable guidelines without regard to any
 statutory minimum sentence, pursuant to USSG § 5C1.2, if the Court finds that the defendant meets the
 criteria set forth in 18 U.S.C. § 3553(f). The defendant understands that this recommendation or request is
 not binding on the Court, and if not accepted by the Court, the defendant will not be allowed to withdraw from
 the plea." (Guaranda's Exhibit 4 at p. 3, ¶ 8).
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             United States v. Rodriguez DeVaron, 175 F.3d 930 (11th Cir. 1999).

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 obtaining a Rule 35 sentence reduction. Guaranda determined that he would not appeal.

 Zaremba did not recall seeing Guaranda at the Orient Road Jail after sentencing. He did

 recall having an opportunity to speak with Guaranda in the courtroom after sentencing. He

 recalled that he went over what he had discussed prior to sentencing about the appeal to

 be sure that Guaranda had not changed his mind about not filing an appeal. Zaremba

 testified that during the brief time he met with Guaranda after sentencing, Guaranda stated

 that he had not changed his mind and did not wish to move forward with an appeal.

        When asked whether he had discussed, with Guaranda, after sentencing, what the

 Judge meant by waiver of appeal, Zaremba testified that he had discussed the waiver of

 appeal with Guaranda at a prior time -- at the time Guaranda decided to go forward with

 a straight up plea. Zaremba testified that he kept notes about his client's decision not to

 take an appeal on a yellow pad, but that pad had become separated from the file and he

 did not have the file in Court.

        On cross-examination, Zaremba agreed that many of his clients were indigent, were

 not well educated and could be considered illiterate. He also testified that because many

 of his clients were not well educated, and not knowledgeable about the federal court

 system, he had to spend a considerable amount of time with "every client in those

 circumstances to make sure that they understand the federal system." Zaremba testified

 that he often spent more time explaining the legal system than the evidence in the case.

        Zaremba testified that he received the proposed written plea agreement in August

 2004, several months before Guaranda pled guilty and several months before his

 sentencing. Zaremba agreed that, at the time the plea agreement was sent to the AFPD,

 the Government had merely stated that it would not oppose a safety valve application if

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 Guaranda met the requirements at the time of sentencing, and that the debriefing of

 Guaranda in an attempt to determine whether Guaranda qualified for the safety valve would

 have occurred after the AFPD received the plea agreement. Zaremba recalled that it was

 about April 19, 2005, that the Government made the determination that Guaranda was

 truthfully telling the Government everything he knew about the offense. In addition,

 Zaremba testified that the date on the PSR was June 30, 2005.

         Zaremba further agreed, on cross-examination, that the determination of whether

 or not Guaranda was entitled to the safety valve was a long process that took place over

 several debriefings. Zaremba testified that he communicated to Guaranda, before

 sentencing, that the Government's determination that Guaranda was telling the truth, and

 therefore entitled to the safety valve provision, was good news because Guaranda would

 receive a lower sentence; Guaranda would potentially be sentenced to below the

 mandatory minimum of ten years; and because he had the potential for post-sentencing

 Rule 35 relief.

         Zaremba also testified that he knew that Guaranda would not have the possibility

 for Rule 35 relief if he filed an appeal, based on the policy of the United States Attorneys'

 Office at that time. He testified that the policy was to allow a defendant to get credit for

 substantial assistance even though the defendant did not sign a plea agreement, because

 of the Blakely v. Washington, 542 U.S. 296 (2004) decision.6 Zaremba testified that he

 told Guaranda he probably would not get Rule 35 relief if an appeal were pending.

         On cross-examination, Zaremba further testified that minor role was probably not an


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          Prior to the Blakely decision, many assistant United States Attorneys did not allow a defendant to
 cooperate and receive a lower sentence unless the defendant signed a plea agreement.

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 appealable issue because Guaranda was the purported engineer of the ship, even though

 Guaranda later testified that he was not really the engineer and that a group of Colombians

 came on board the "Don Enrique" and one of them took over the job of engineer. Zaremba

 testified that Guaranda having been the engineer at some point would have been held

 against him on appeal. Zaremba testified that after DeVaron, he had not many cases

 reversed for denial of minor role. He testified that usually the Eleventh Circuit credited the

 district court judge's acting in his or her discretion on the decision granting minor

 adjustments.

        Zaremba testified that he advised Guaranda that he probably would not prevail on

 the minor role issue on appeal and that while it was unlikely that he would get Rule 35 relief

 immediately, there was a chance he could do so in the future. Zaremba discussed with

 Guaranda that they should weigh the benefits of not filing an appeal and taking a chance

 on Rule 35 relief against appealing and perhaps losing the safety valve if the case came

 back for resentencing. Zaremba testified that he discussed this strategy with Guaranda

 "three if not four times." Guaranda agreed with Zaremba about not filing an appeal.

        Zaremba testified that not only did he discuss this issue several times prior to

 sentencing, but also one more time on the day of sentencing, and probably after sentencing

 before he left the room. Zaremba was adamant that he makes a point of discussing

 appellate issues with his clients and does not rely on the close-out letter his office sends

 when a case is closed.

        Zaremba testified that he spoke to Guaranda through his counselor at F.C.I. Ft..

 Worth, Texas, regarding money that Zaremba was holding for Guaranda. However,

 Guaranda did not ask about his appeal at that time. He also testified that he did not receive

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 any correspondence from Guaranda regarding his appeal and that he would have

 responded if he had.

        He further testified that he did not have any recollection of Guaranda asking him to

 file an appeal immediately after sentencing or telling Guaranda that he was going to visit

 him at the Orient Road Jail the day after sentencing to discuss his appeal. He testified that

 he believes Guaranda heard the judge say that Guaranda had a right to appeal and

 construed that to mean that Zaremba was going to file an appeal. Zaremba testified that

 he had a clear recollection of this case and he had no doubt that he fully advised Guaranda

 of his right to appeal and fully discussed and weighed with him the options of appealing or

 not appealing and hoping for Rule 35 relief in the future. Zaremba testified that decided that

 he did not want to take an appeal.

        On redirect examination, Zaremba agreed that the reasonableness of the sentence

 would have been an appealable issue. He further testified that while the conversation

 which Guaranda says took place after sentencing regarding Zaremba's visiting Guaranda

 at the jail to discuss the appeal could be possible, he did not remember the conversation

 and he did not think that it was probable. He recalled that during their discussions prior to

 sentencing, Guaranda used his hands to balance the factors for and against appealing.

 Zaremba was sure that Guaranda had not changed his mind about his decision not to

 appeal at the time of sentencing.

        Zaremba testified that he told Guaranda, prior to sentencing, that he would most

 likely receive a sentence at the low end of the guidelines minus two levels for safety valve

 and three levels for acceptance of responsibility. He testified that he discussed with

 Guaranda the specific number of a 135 month sentence prior to sentencing. He also

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 testified that he discussed with Guaranda that he would argue, at sentencing, for a ten

 year sentence, as well as for minor role.

        Zaremba responded to the Court's question and stated that he had similar

 conversations with Guaranda at least three times. That is, he discussed the strategy of not

 filing an appeal but instead, looking toward Rule 35 relief in the future. Zaremba testified

 that he advised the strategy based on his experience and qualifications, and that it was an

 informed strategy which he conveyed to Guaranda as being the best strategy for

 Guaranda. However, he did not make the decision for Guaranda.

        Next, Page called Guaranda to testify, through sworn interpreters. Guaranda, who

 is 47 years old, testified that he had about 2-3 years of formal schooling and that he had

 worked with his father on fishing boats for the major part of his life. He has three siblings.

 Guaranda testified that he heard the judge say, at sentencing, that he had the right to

 appeal and that he had ten days for the attorney to file an appeal. When asked by Page,

 Guaranda testified that he wanted to file an appeal. He admitted that Zaremba had

 discussed whether he should take an appeal and that after talking to Zaremba, Guaranda

 told Zaremba not to take the appeal. This occurred after he pled guilty and before the

 sentencing.

        Guaranda testified that Zaremba discussed the safety valve with him prior to his

 sentencing. He testified that Zaremba told him he would be at the Orient Road Jail to visit

 him the next day, but that he never came to see him. He testified that he attempted to

 contact Zaremba after he was sentenced. He also testified that his understanding was that

 Zaremba would "present the appeal." Guaranda did not explain why he thought Zaremba

 was going to file an appeal when Guaranda had specifically agreed that he did not want to

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 appeal.

        Guaranda testified that he received a letter from Zaremba dated September 6, 2005.

 He put the letter away for a month. He testified that eventually he had a fellow inmate

 translate the letter which stated that Zaremba agreed with Guaranda's decision not to take

 an appeal, and that the case was closed. Guaranda testified that he disagreed with the

 letter because he thought his appeal was pending.

        Guaranda confirmed that he had telephoned Zaremba about the money Zaremba

 held for him, and that he had not mentioned his appeal at that time. He also testified that

 he contacted the consulate in Houston, Texas to ask him to contact Zaremba because

 Zaremba's office would not accept collect calls. Guaranda first testified that he could read

 and write Spanish. However, he later testified that he did not read Spanish and that he

 could not read books on engineering and that he did not have a significant role as an

 engineer on his father's fishing boat, or on the "Don Enrique," the fishing vessel that

 contained the 3700 kilograms of cocaine. He testified that the interpreter at the sentencing

 hearing told him Zaremba would visit him the next day at Orient Road Jail. However,

 Guaranda did not recognize Merino, the interpreter at the sentencing hearing, when Merino

 was earlier called as a witness in this case.

        On cross-examination, Guaranda testified that he met with Zaremba between the

 time of his pleading guilty and his sentencing and agreed that he was not going to file an

 appeal. He also testified that when he heard the judge state that he had a right to appeal,

 he thought Zaremba was going to file an appeal; however, at no time after the Court

 imposed sentence until the marshals took him away, did he talk to Zaremba about an

 appeal or ask Zaremba to file an appeal.

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                                         Applicable Law

        In Flores-Ortega, the Supreme Court held that an attorney who disregards

 instructions from his client to appeal has acted “in a manner that is professionally

 unreasonable.” Flores-Ortega, 528 U.S. at 477. Moreover, when an attorney fails to follow

 express instructions to appeal, prejudice is presumed. Flores-Ortega, 528 U.S. at 483;

 Gomez-Diaz v. United States, 433 F.3d 788, 790-92 (11th Cir. 2005). If the petitioner did

 not specifically direct his attorney to file an appeal, a reviewing court must inquire whether

 the attorney consulted with the petitioner regarding the advantages and disadvantages of

 appealing and made a reasonable effort to determine the petitioner’s wishes. Flores-

 Ortega, 528 U.S. at 478. If so, the attorney has acted unreasonably only if he ignored the

 petitioner's wishes to appeal. Id. If the attorney did not consult with the petitioner, the court

 must further inquire whether the attorney had the affirmative duty to consult. Id. An attorney

 has this duty when either (1) any rational defendant would want to appeal, or (2) his

 particular client reasonably demonstrated an interest in appealing. Flores-Ortega, 528 U.S.

 at 480. In making this determination, courts must take into account all the information

 counsel knew or should have known at the time. Id. Highly relevant factors include whether

 the conviction resulted from a trial or a plea and whether the defendant expressly waived

 his appellate rights. Id. Because the failure to file a notice of appeal results, not in the denial

 of a fair proceeding, but in the denial of a proceeding altogether, the prejudice prong of the

 Strickland test for ineffectiveness of counsel in this context requires the petitioner to

 demonstrate that, but for his counsel’s omission, there is a reasonable probability that he

 would have timely appealed. Flores-Ortega, 528 U.S. at 480. While demonstration of



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 nonfrivolous grounds for appeal may be adequate to show a reasonable probability that a

 petitioner would have timely appealed, a defendant is not required to offer nonfrivolous

 grounds for appeal to establish prejudice.7 Flores-Ortega, 528 U.S. at 483; Gomez-Diaz,

 433 F.3d at 789. Accordingly, a petitioner who pleads guilty pursuant to a plea agreement,

 waiving his right to appeal on most grounds, still may obtain a belated appeal based on the

 proof set forth above. Gomez-Diaz, 433 F.3d at 793-94.

                                                 Conclusion

         Zaremba's testimony is credible. He is an experienced criminal defense attorney

 who regularly represents defendants in this Court and files appeals on a regular basis on

 behalf of his clients. During his several conferences with Guaranda, Zaremba discussed

 and explained the advantages and disadvantages of pursuing an appeal, the possible

 issues to raise on appeal and made a reasonable effort to determine Guaranda's wishes.

 Guaranda and Zaremba agreed on a strategy, to the point that Guaranda was using his

 hands to weigh the benefits of taking an appeal as opposed to not taking an appeal and

 looking for Rule 35 relief in the future.8

         Guaranda's testimony is less credible, and, in fact, his testimony was inconsistent.

 For example, he first stated that he could read Spanish newspapers and then retracted that

 statement. Furthermore, Guaranda testified that he did not know anything about being an



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          Should a defendant be granted a belated appeal because of trial counsel’s failure to file a notice of
 appeal and should appellate counsel determine that no meritorious issue existed to present, appellate counsel
 would be obligated to file a brief pursuant to Anders v. California, 386 U.S. 738 (1967).
         8
            The fact that Guaranda would not waive his attorney-client privilege on the record until he was told
 that he did not have to divulge everything that he told Zaremba leads the Court to believe that he knows more
 than he has presently revealed about the criminal conspiracy. If he does, and he cooperates, then Rule 35
 relief is possible.

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 engineer. This Court finds that statement not credible. If Guaranda had no knowledge of

 ships and navigation, he would not have been hired to be in a position of responsibility on

 on a vessel that was transporting a large amount of cocaine--over 3700 kilograms.

        Furthermore, the Court does not believe that Guaranda thought he had a pending

 appeal because during his telephone call to Zaremba he asked about the disbursement of

 his money, but did not ask at all about his alleged pending appeal. Guaranda testified that

 he actually told Zaremba not to file an appeal. Yet, when he heard the judge's words at the

 sentencing hearing telling him he had a right to appeal within 10 days, Guaranda, in his

 mind, perhaps, thought that the words, which the judge says to every defendant, negated

 all of the discussions and decisions he and Zaremba had regarding the strategy of not

 taking an appeal. Guaranda himself stated that he did not talk to Zaremba after the

 sentencing. The only question seems to be whether the interpreter told Guaranda that

 Zaremba would go to Orient Road Jail to see Guaranda the day after the sentencing.

 Zaremba testified that he did not say this, and the Court finds this testimony credible.

        To the extent Guaranda suggests that Zaremba had a duty to consult with him

 regarding an appeal during the ten days immediately following sentencing, that contention

 is without merit, given Zaremba's numerous conferences with Guaranda prior to

 sentencing. See Joynes v. U.S. 2007 WL 328602 at *4 (M.D. Fla. Jan. 31, 2007). See Roe

 v. Flores-Ortega, 528 U.S. at 479-80 (rejecting brightline rule that counsel must always

 consult with defendant regarding appeal); Medina v. United States, 167 Fed. Appx. 128,

 134-35 (11th Cir.2006)(where client neither instructs attorney to appeal nor asks that an

 appeal not be taken, relevant question in determining whether attorney performed

 deficiently by not filing NOA is “whether counsel in fact consulted with the defendant about

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 an appeal” ).

        Guaranda's testimony that he asked Zaremba to file an appeal immediately after

 sentencing is not credible. Any contention that Zaremba never discussed the advantages

 and disadvantages of appealing is flatly contradicted by Zaremba's testimony.

        This Court finds that Guaranda did not instruct Zaremba to file an appeal. Therefore,

 Zaremba did not have a per se duty to file an appeal as outlined in Flores-Ortega.

 Guaranda's attorney fulfilled his constitutional duty to consult with Guaranda and to make

 a reasonable effort to determine Guaranda's wishes. Zaremba acted in accordance with

 those wishes.

        Given Guaranda's understanding and agreement with Zaremba's advice and

 sentencing and appeal strategy, Zaremba's consultations satisfy the requisite “reasonable

 effort to determine the client's wishes.” Flores-Ortega, supra at 478. An attorney who fails

 to file an appeal on behalf of a client who specifically requests it acts in a professionally

 unreasonable manner. Gomez-Diaz, supra at 792. Where, however, as here, Guaranda did

 not request that his attorney file an appeal, Zaremba was not ineffective. Zaremba's

 conduct cannot be considered “professionally unreasonable.” Strickland v. Washington, 466

 U.S. 668, 691 (1969).

        Guaranda has not established that he reasonably demonstrated his desire to appeal

 before the time for filing an appeal had passed. Accordingly, based on his motion and the

 record now before this Court, Guaranda has not met his burden of proving by a

 preponderance of the evidence that Zaremba provided ineffective assistance of counsel

 because he has not shown that he requested Zaremba to file an appeal and Zaremba failed

 to do so. Guaranda has not established any entitlement to relief based on ineffective

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 assistance of counsel. The Court finds the Government's closing argument persuasive and

 adopts and incorporates that argument in this order.

         Accordingly, the Court orders:

         That Guaranda's motion to vacate (Doc. No. cv-1; cr-332) is denied, with prejudice.

 The Clerk is directed to enter judgment against Guaranda in the civil case and to close that

 case.

                       CERTIFICATE OF APPEALABILITY AND
                   LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

         IT IS FURTHER ORDERED that Defendant is not entitled to a certificate of

 appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to

 appeal a district court's denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court

 must first issue a certificate of appealability (COA). Id. “A [COA] may issue AAA only if the

 applicant has made a substantial showing of the denial of a constitutional right.” Id. at §

 2253(c)(2). To make such a showing, Defendant “must demonstrate that reasonable jurists

 would find the district court's assessment of the constitutional claims debatable or wrong,”

 Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473,

 484 (2000)), or that “the issues presented were ‘adequate to deserve encouragement to

 proceed further, ’ " Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v.

 Estelle, 463 U.S. 880, 893 n. 4 (1983)). Defendant has not made the requisite showing in

 these circumstances.

         Finally, because Defendant is not entitled to a certificate of appealability, he is not

 entitled to appeal in forma pauperis.

         ORDERED at Tampa, Florida, on June 14, 2007.


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 Counsel of Record




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